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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-902V
                                          UNPUBLISHED


    K.B.,                                                       Chief Special Master Corcoran

                         Petitioner,                            Filed: December 18, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On June 20, 2019, K.B. filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration as a result of the tetanus, diphtheria, and acellular pertussis vaccine
administered to her on December 1, 2017. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

       On October 16, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On November 19, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $141,603.72
(representing $137,500.00 in pain and suffering and $4,103.72 in unreimbursable

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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expenses). Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees
with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the Proffer, I award Petitioner a lump sum
payment of $141,603.72 (representing $137,500.00 in pain and suffering and
$4,103.72 in unreimbursable expenses) in the form of a check payable to Petitioner.
This amount represents compensation for all damages that would be available under §
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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